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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 23-cr-257-TSC
                                     :
v.                                   :
                                     :
DONALD J. TRUMP,                     :
                                     :
            Defendant.               :
____________________________________:

                         MOTION FOR ADMISSION PRO HAC VICE

          Pursuant to Local Criminal Rule 44.1(c), Emil Bove, Esq. respectfully moves to appear

pro hac vice and participate as counsel for President Donald J. Trump in the above-captioned

matter.

          This motion is supported by Mr. Bove’s declaration and a certificate of good standing.

As set forth in the declaration, Mr. Bove is an active member in good standing of the bars of

New York; the United States District Court for the Southern and Eastern Districts of New York

and the District of New Jersey; and the United States Court of Appeals for the Second Circuit.

          This motion is also supported by John F. Lauro, Esq., an active and sponsoring member of

the Bar of this Court. Mr. Lauro’s signature is below.

          WHEREFORE, Mr. Bove respectfully requests that the Court grant this motion and

allow him to appear pro hac vice and participate as counsel in this matter.

                                  [SIGNATURE PAGE FOLLOWS]
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Dated: October 4, 2023                     Respectfully submitted,

/s/ Emil Bove                              /s/ John F. Lauro, Esq.
Emil Bove, Esq.                            D.C. Bar No. 392830
Emil.Bove@Blanchelaw.com                   jlauro@laurosinger.com
BLANCHE LAW                                LAURO & SINGER
99 Wall St., Suite 4460                    400 N. Tampa St., 15th Floor
New York, NY 10005                         Tampa, FL 33602
(212) 716-1250                             (813) 222-8990

                                           Counsel for President Donald J. Trump




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                          UNITED STATES DISTRICT COURT
                                         DISTRICT OF COLUMBIA


                                                       )
                     Plaintiff(s)                      )
                                                       )
vs.                                                    )      Case Number:
                                                       )
                                                       )
                    Defendant(s)

                                               FOR PRO HAC VICE
                            (to be attached to Motion for                           )

       I                                                                                  that
the answers to the following questions are complete, true, and correct:
      Full Name:
      State bar membership number:
      Business address, telephone and fax numbers:


      List all state and federal courts or bar associations in which you are a member “in good standing”
      to practice law:


      Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
      good standing” status, or otherwise disciplined by any court, bar association, grievance committee
      or administrative body? Yes             No

      Have any proceedings which could lead to any such disciplinary action been instituted against you
      in any such bodies?      Yes     __ _No
      (Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

      List the number of times the attorney has been admitted pro hac vice into this court within the last
      two years.
      (If your principal office is located in the District of Columbia, please answer questions 8 and 9.)

      Are you a member of the DC Bar?

      Do you have a pending application for admission into USDC for the District of Columbia?
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       In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear as sole or
lead counsel in a contested evidentiary hearing or

                                          (CHECK ALL ITEMS THAT APPLY)

             has previously acted as sole or lead counsel in a federal district court or the Superior Court of the District of
             Columbia or a state trial court of general jurisdiction in a contested jury or bench trial or other contested
             evidentiary hearing in which testimony was taken in open court and an order or other appealable judgment was
             entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

             has participated in a junior capacity in an entire contested jury or bench trial in a federal district court or the
             Superior Court of the District of Columbia or a state trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR
             44.1(b)(2)]; OR


             has satisfactorily completed a continuing legal education trial advocacy course of at least 30 hours sponsored
             by the District of Columbia Bar or accredited by a State Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]




       I declare under penalty of perjury that the foregoing is true and correct.

      October 4, 2023
            DATE                                                                    SIGNATURE OF ATTORNEY




                                                               2
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           Appellate Division of the Supreme Court
                     of the State of New York
                  Second Judicial Department


     I, Darrell M. Joseph, Acting Clerk of the Appellate Division
of the Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                     Emil Joseph Bove, III
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on June 10, 2009,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and      according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                             In Witness Whereof, I have hereunto set
                             my hand in the City of Brooklyn on
                             October 6, 2023.




                                  Acting Clerk of the Court


CertID-00140905
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                                     Appellate Division
                            Supreme Court of the State of New York
                                 Second Judicial Department
                                      45 Monroe Place
                                   Brooklyn, N.Y. 11201
                                         (718) 875-1300
 HECTOR D. LASALLE                                                        KENNETH BAND
    PRESIDING JUSTICE                                                        DEPUTY CLERKS

                                                                        MELISSA KRAKOWSKI
DARRELL M. JOSEPH
ACTING CLERK OF THE COURT                                                  WENDY STYNES
                                                                          LAUREN G. DOME
                                                                         BRIAN E. KENNEDY
                                                                             January 7, 2005
                                                                        ASSOCIATE DEPUTY CLERKS



To Whom It May Concern


      An attorney admitted to practice by this Court may request a certificate of
good standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history
may be viewed through the attorney search feature on the website of the Unified
Court System.


         New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Second Judicial Department.


      Bar examination history is available from the New York State Board of Law
Examiners.


         Instructions, forms and links are available on this Court's website.




                                                   Darrell M. Joseph
                                                   Acting Clerk of the Court




Revised August 2023
